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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

        On March 27, 2019, the Court issued an Order denying the government’s motion to compel Claim-

ant Alexander Lazarenko to appear for a deposition on April 9–10 in either Kiev, Ukraine or Lviv, Ukraine.

ECF No. 1135. The Order noted that Alexander Lazarenko sought to travel to the United States for his

deposition, and, in light of the efficiencies of holding his deposition in the United States rather than in

Ukraine, permitted a reasonable extension of the discovery schedule to allow him to procure a visa to travel

here to sit for the deposition. Id. The Court also required a joint status report to be filed by the government

and Alexander Lazarenko on March 5, 2019, “informing the Court of their progress in scheduling the dep-

osition of Alexander Lazarenko, including, if he has not yet received a visa to travel to the United States,

the amount of time reasonably likely for a decision to be made on his visa application.” Id.

        On March 5, 2019, the joint status report was filed. ECF No. 1148. In it, the government informed

the Court of the steps that a Ukrainian citizen must take in order to apply for a visa to travel to the United

States; counsel for Alexander Lazarenko, however, was unable to confirm that her client had filed the initial

online application for such a visa. Id. The Court consequently issued an Order dated April 6, 2019, stating

that the status report did not comply with the March 27, 2019 Order, and requiring, among other things,
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counsel for Alexander Lazarenko to provide specific information at a hearing scheduled for April 9, 2019,

as to the steps Alexander Lazarenko had taken to procure the visa. ECF No. 1150.

        At the April 9, 2019 hearing, counsel for Alexander Lazarenko was unable to provide the infor-

mation ordered in the April 6, 2019 Order. Specifically, she was unable to confirm whether her client had

applied for a visa, paid the required fee, or made efforts to scheduled a visa appointment at the consulate,

claiming that language and logistical difficulties interfered with her ability to communicate with her client.

Counsel for Alexander Lazarenko requested one final opportunity for her client to seek a visa to travel to

the United States. She recommended allowing him one week to seek such a visa and, if he failed to do so

in that time period, providing him 72 hours thereafter to elect to attend his deposition in the city of Lviv,

Ukraine, where he apparently lives, or in Kiev, Ukraine. Counsel for Alexander Lazarenko recognized that

failure either to timely seek a visa or to consent to attend a deposition in Lviv or Kiev would result in an

order to show cause why his claims should not be dismissed. The government agreed with this approach.

Based on those representations, and as discussed on the record at the April 9, 2019 hearing, it is hereby

        ORDERED that Claimant Alexander Lazarenko shall be permitted seven days from the date of

this Order—that is, until April 16, 2019—to file the intial visa application, pay the required visa fee, and

schedule a visa appointment. It is further

        ORDERED that, once Claimant Alexander Lazarenko has filed his initial visa application, paid

the required visa fee, and scheduled his visa appointment, he shall promptly inform the Court that he has

done so. Thereafter, he shall update the Court every seven days as to the progress of his visa application,

including any action taken by consular authorities on the application. If is further

        ORDERED that, if Claimant Alexander Lazarenko has not filed his initial visa application, paid

the required visa fee, and sought to schedule the visa appointment within seven days of the date of this

Order, he shall be expected to appear for his deposition in Ukraine and shall have an additional three days—

that is, until April 19, 2019—to inform the government whether he will appear for his deposition in Kiev,

Ukraine, or Lviv, Ukraine. Failure to do so may result in dismissal of his claims in this case. It is further




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        ORDERED that expert discovery in this case is STAYED pending further order of the Court. It

is further

        ORDERED that, during the pendency of the stay of expert discovery, any party may make an

application to the Court to lift the stay. It is further

        ORDERED that counsel for Alexander Lazarenko shall promptly deliver a copy of this Order, both

in English and in Alexander Lazarenko’s preferred language, to her client.



        SO ORDERED.
                                                                        Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2019.04.09 16:40:40
Dated: April 9, 2019                                 ___________________________________
                                                                        -04'00'
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE




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